TREG R. TAYLOR
ATTORNEY GENERAL

Aisha Tinker Bray, Esq.
Assistant Attorney General
Office of the Attorney General
100 Cushman Street, Suite 400
Fairbanks, Alaska 99701
Telephone: (907) 451-2974
Email: aisha.bray@alaska.gov

Attorney for State of Alaska, Department of
Transportation & Public Facilities

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

STATE OF ALASKA, DEPARTMENT )
OF TRANSPORTATION & PUBLIC )
FACILITIES,                   )
                              )
      Plaintiff,              )
                              )
      v.                      )
                              )
2.396 ACRES MORE OR LESS NEAR )
BETHEL, ALASKA, et al.,       )
                              )
      Defendants.             )
                              )                  Case No. 3:20-cv-00306-JWS


                             NOTICE OF CO-COUNSEL

       Please take notice that pursuant to Local Civil Rule 11.1, Assistant Attorney

General Aisha Tinker Bray of the Alaska Department of Law hereby enters her

appearance as co-counsel of record for and on behalf of plaintiff State of Alaska,

Department of Transportation and Public Facilities.




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         DATED at Fairbanks, Alaska, this 22nd day of June, 2022.

                                                 TREG R. TAYLOR
                                                 ATTORNEY GENERAL

                                                 By: s/ Aisha Tinker Bray
                                                       Aisha Tinker Bray
                                                       Assistant Attorney General
                                                       Office of the Attorney General
                                                       100 Cushman Street, Suite 400
                                                       Fairbanks, Alaska 99701
                                                       Phone: (907) 451-2974
                                                       Email: aisha.bray@alaska.gov
                                                       Alaska Bar No. 9505028


CERTIFICATE OF SERVICE
This is to certify that on this 22nd
day of June, 2022, a copy of the
foregoing document was served
electronically by ECF on:

Jacquelyn A. Traini jackie.traini@usdoj.gov
Steven S. Tervooren stervooren@hugheswhite.com

s/ Aisha Tinker Bray




State of Alaska v. 2.396 Acres, et al.                            Case No. 3:20-cv-00306-JWS
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